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AO 450 (Rev. 01/09) Judgment in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                          for the
                                             MIDDLE DISTRICT of PENNSYLVANIA

                         MARGORY MUHAW,                                             )
                                    Plaintiff                                       )
                                        v.                                                Civil Action No.           1:15-CV-1398
                                                                                    )
     CAROLYN W. COLVIN, Acting Commissioner of Social
                                                                                    )           (Chief Judge Conner)
                                   Security,
                                                                                    )
                                   Defendant


                                                         JUDGMENT IN A CIVIL ACTION


The court has ordered that (check one):
9    the plaintiff                                                                                               recover from the
defendant (name)                                                                                                    the amount of
                                                                               dollars ($                       ), which includes prejudgment
interest at the rate of                          %, plus postjudgment interest at the rate of                   %, along with costs.
9       the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                                                                  recover costs from the plaintiff (name)
                                                                                  .

x    other:      JUDGMENT be and is hereby ENTERED in favor of defendant CAROLYN W. COLVIN, Acting Commissioner
                 of Social Security, and against plaintiff MARGORY MUHAW, as follows: The decision of the Commissioner of
                 Social Security denying the application for supplemental security income and disability insurance benefits of
                 Margory Muhaw is AFFIRMED, in accordance with the court’s order (Doc. 14), dated November 22, 2016.

This action was (check one):
9 tried by a jury with Judge or Magistrate Judge                                                           presiding, and the jury has
rendered a verdict.

9     tried by Judge or Magistrate Judge                                                        without a jury and the above decision

X     decided by Judge or Magistrate Judge                                Chief Judge Christopher C. Conner

                      COMPLAINT FOR REVIEW OF HHS DECISION

Date:                       Nov 22, 2016                                    PETER WELSH, ACTING CLERK OF COURT

                                                                                                        K. McKinney

                                                                                                Signature of Clerk or Deputy Clerk
